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IN THE UNITED sTATES DISTRICT coURT FR¥
FOR THE wEsTERN DISTRICT oF TENNESSEE
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MISAEL ROQUE~ESPINOZA,

Petitioner,
vs. No. 04-2660-Ml/P
T.C. OUTLAW,

Respondent.

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ORDER GRANTING MOTION FOR RECONSIDERATION
ORDER VACATING DECEMBER 8, 2004, ORDER AND JUDGMENT
AND
ORDER TO RESPOND TO PETITION PURSUANT TO 28 U.S.C. § 2241

 

Petitioner Misael Roque-Espinoza, Bureau of Prisons inmate
registration number 13229-424, an inmate at the Federal Correctional
Institution in Memphis (“FCI-Memphis”), filed a prg_ §§ petition
pursuant to 28 U.S.C. § 2241 on August 25, 2004, along with an
application to proceed in fgrmg pauperis. The Court issued an order on
October 12, 2004, denying leave to proceed in fp;ma pauperis and
directing the Petitioner to pay the habeas filing fee within thirty
days. Because it appeared that the habeas filing fee had not been paid,
as a copy of the receipt was not placed in the case file and the
payment was not noted on the docket sheet, the Court issued an order
on December 8, 2004, dismissing the petition without prejudice,
pursuant to Fed. R. Civ. P. 4l(b), for failure to prosecute. Judgment
was entered on December 8, 2004. On December 20, 2004, Petitioner filed
a motion for reconsideration, which the Court construes as a timely

motion pursuant to Fed. R. Civ. P. 59(e), in which he provided a

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receipt demonstrating that the habeas filing fee was paid by check on
October 27, 2004, Within the time specified in the October l2, 2004,
order. On March. 24, 2005, the Clerk docketed. a letter from the
Petitioner inquiring about the status of his motion for
reconsideration. For good cause shown, the motion for reconsideration
is GRANTED. The December 8, 2004, order and judgment are VACATED.

It is ORDERED that the Respondent, FCI-Memphis warden T.C.
Outlaw, shall file a response to the petition within twenty-three (23)
days.

lt is further ORDERED that the Clerk shall serve a copy of
the petition and this order on the Respondent by certified mail and
shall provide a copy of the petition and this order to the United

States Attorney for the Western District of Tennessee.

IT IS SO ORDERED this C§EZ day of April, 2005.

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PHIPPS MCCALLA
TED STATES DIS'I'RICT JUDGE

 

 

DISTCRIT COURT - WESTNERDISTCRIT oF'TNi\I'ESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
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Misael Roque-Espinoza
FCI-l\/[El\/[PH[S

P.O. Box 345 50
Memphis7 TN 3 8184

Honorable J on McCalla
US DISTRICT COURT

